                           Case 13-36355-LMI                   Doc 48-1           Filed 06/05/14             Page 1 of 1

CGFI1 (9/18/13)




ORDERED in the Southern District of Florida on June 5, 2014




                                                                        Laurel M Isicoff
                                                                        United States Bankruptcy Judge


                                                    United States Bankruptcy Court
                                                       Southern District of Florida
                                                         www.flsb.uscourts.gov
                                                                                                                Case Number: 13−36355−LMI
                                                                                                                Chapter: 13
In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Andre Laforest Brevil
aka Andre Brevil, aka Andre L Brevil
3240 Mary Street #S207
Miami, FL 33133−5273
SSN: xxx−xx−0792


                                               ORDER STRIKING DOCUMENT
       The following document was filed on 5/22/14:


Title of Stricken Document: Amended Summary of Schedules,Schedule F Filed by Debtor Andre Laforest Brevil.


      The document was not accompanied by Local Form 11 Declaration Under Penalty of Perjury to
Accompany Petitions, Schedules, Filing Fee Applications and Statements filed Electronically as
required by Local Rules 1007−1(D), 1009−1 or 9011−4(C).

      It is ORDERED that this document is stricken. Any fees accompanying the document shall not be
refunded. A stricken document resubmitted in compliance with the rules shall be considered as filed on the
date it is resubmitted for filing, not the date the noncomplying document was initially filed, and must be
served in accordance with court rules. If required, an additional fee must also be remitted. If the document
stricken was a notice or motion served pursuant to Local Rules 3007−1(C), 4001−1(C), 6004−1(D),
6007−1(B) or 9013−1(D), the proponent is denied any relief which would have been afforded under the
"negative notice" provisions contained in these rules and the party filer shall not submit any requests for
orders to take any action based upon the filing of this stricken document.
The clerk of court shall serve a copy of this order on the party filing this document and on all parties on the service list of the
document being stricken.
                                                                         ###
